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NERA: Publication - Survey Techniques for Rigorous Measurement of Damages in Trade... Page 1 of 1
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   Newsletters & Briefs          Cases                                                                                                        Dr. Alan Cox

   Publications Search           8 January 2007                                                                                               Louis Guth
                                 By Dr. Alan Cox and Louis Guth


                                                                                                                                              RELATED PRACTICE AREAS:
                                 The purpose of this paper is to describe Choice Modeling, a method for measuring the degree of               Commercial Litigation and Damages
                                 confusion in trade dress infringement cases and for simultaneously measuring the size of any
                                                                                                                                              Survey Research, Design, and Analysis
                                 damages that may result. The method, which has been developed with contributions by NERA
                                 economists, provides a widely accepted, testable technique that has been peer reviewed, has                  Intellectual Property

                                 known rates of error and which is often used in market research -- not merely in litigation. Under
                                 a Choice Modeling exercise, survey respondents compare the features of a product, including
                                 brand name, trade dress and price, and report their preferences for a particular combination of
                                 features. An example, described in the paper, will illustrate the concept.


                                 Choice Modeling has at least two significant advantages over conventional surveys. First, since
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                                 Choice Modeling is derived from a well-formulated theory of consumer behavior, results can be
                                 translated into monetary values, not merely reports of the percentage of respondents indicating
                                 that they were confused. The effect of an allegedly confusing brand name or product trade dress
                                 is measured in terms of lost sales occurring at specific price levels, all else equal. Choice Modeling
                                 can also be used to make direct estimates of possible damages from decreased profit margins due
                                 to any price reductions required to maintain market share.


                                 Second, Choice Modeling surveys reduce the amount of bias introduced by the interaction
                                 between the interviewer and the respondent. In fact, no interviewer or respondent could possibly
                                 guess the significance of any answer or how a response relates to the final analysis.




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http://www.nera.com/67_4876.htm                                                                                                                                            2/24/2012
